©GD\|O\U'|-PUJN|--\

NNNNN\\.)N»-\»-\»-\l-\¢-=»-¢»-\l-~r-»»-\
mm-l>wl\)»-\o©oo\lmu'l-x>u)\\)l-\O

Case 1:18-mC-00501-SHR Document 5 Filed 08/29/18 Page 1 of 1

 

Elam, rashaan, mechelle, Sui Ju§§! L E D RE US
C/O 1004 North West StreetHARRISBLlRG, PA `
Apartment 5 AUG 2 g wm (tracking number for mailed copy)

Carlisle, Pennsylvania

(zIP Exempr pursuant t%Ym 602) t M
717‘614~7786 DEPuTY cLERK
FORMAL NoTICE REQUESTING ARTICLE 111 JUDGE/ CIRCUIT RII)ER BE
ASSIGNED To CASE

l:lS-MC-SOl
This Formal Notice requesting for the Circuit Rider/ Article III Judge to be assigned to
above listed case, in accordance With Constitution for the United States, as i am one of the
people and not a Statutory 14th Amendment Citizen.

i declare under penalty of perjury under the law of the Commonwealth of Pennsylvania andZS
U.S. Code § 1746 - (l) that the foregoing is true and correct to the best of my knowledge, and that i am
physically located outside the geographic boundaries of the United States, Puerto Rico, the Virgin Islands
and any territory or insular possession subject to the jurisdiction of the United States.

&“»QM
Executed on thegj_fd`ay of@¢gz_, ZOLZAt 10 § 3 fm , (date) (month)@%, 20 L£,

(0n the land of city/town) §Z¢M‘ c , (county oi) @ éaé¢ z (country 01)
X_&,¢M@MM¢Q______

Elam, rashaan, mechelle©,
Autograph of Living Woman, Subrogee, Beneficiary and

Authorized Representative of RASHAAN MECHELLE ELAM trust

l';____ .4~_,7~=;_1

   
   

.,`.A 1

NOTARY ACKNOWLEDGEMENT

lL = d
sWoRN To AND sUBsCRIBED BEFORE ME this the § w' day of :Q,;¢f; AU&USJ
201 § .
sEAL

  

Notary Public - C onwealth of Pennsylvania in Cumberland County,
l

~ - - . » l¢§ C> QQ£;L Commonwea|th o‘f Pennsylvania-Notary Sea|
My °Ommlssl°n explres' 651 55 1 Cumela J Martin, Notary Public
Cumberland County

My Commission Expires Ju|y 5, 2022
Commission number 1225509

 

 

 

1 OF l FORMAL NOTICE REQUESTING ARTICLE III JUDGE

 

